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                    IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

ANN WISEMAN and SARA HOWARD
individually and on behalf of all
others similarly situated                                                    PLAINTIFFS

v.                               CASE NO. 4:14CV478 BRW

TRANSAMERICA LIFE INSURANCE                                                 DEFENDANT
COMPANY


            PLAINTIFFS’ MOTION FOR CONDITIONAL CERTIFICATION
                      AND COURT-AUTHORIZED NOTICE


                                   HEARING REQUESTED

       Come now Plaintiffs Ann Wiseman and Sara Howard, and for their motion for

conditional certification and court-authorized notice state:

       1.     The Plaintiffs are former billing specialists at Transamerica Life Insurance

Company. Plaintiffs brought this action on behalf of themselves and all similarly

situated billing specialists who were denied overtime compensation as a result of

Transamerica’s practice of compensating billing specialists for their scheduled hours

rather than actual hours worked.

       2.     Plaintiffs move the Court to conditionally certify the following class:

              All billing specialists of Transamerica who worked at its
              Little Rock facility at any time before (3 years from date of
              mailing), and continuing thereafter through the date on
              which final judgment is entered in this action and who
              timely file a written consent to be a party to this action
              pursuant to 29 U.S.C. § 216(b).



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       3.        Plaintiffs request that the Court authorize the sending of notice by mail to

each employee in the class. Plaintiffs also request that Transamerica distribute a copy of

the notice with employee paychecks and also post a copy of the notice at its facility. A

copy of Plaintiffs’ proposed notice and consent to join form is attached as Exhibit “A” to

this motion.

       4.        Plaintiffs request that the Court order Defendants to produce a complete,

electronic list of class members, together with their current or last known address,

phone number, and email address, within 10 days of an Order granting conditional

certification.

       5.        Plaintiffs incorporate by reference their accompanying brief in support.

       6.        Plaintiffs motion is supported by the following exhibits:

                 A. Plaintiffs’ Proposed Notice and Consent-to-Join Form;

                 B. Deposition of Ann Wiseman;

                 C. Deposition of Sara Howard;

                 D. Correspondence from Supervisor Lemons to Billing Specialists.

       WHEREFORE, Plaintiffs respectfully request that this Court grant their motion

for conditional certification and authorize notice to putative class members.




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                           Respectfully submitted,

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                             CERTIFICATE OF SERVICE

     I, Timothy A. Steadman, certify that a true and accurate copy of the foregoing
document was sent via CM/ECF on this 2nd day of February, 2015 to the following:

      Carolyn B. Witherspoon (cspoon@cgwg.com)
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                                                /s/ Timothy A. Steadman
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